Case 3:18-cv-05945-VC Document 125-19 Filed 10/30/19 Page 1 of 28




          EXHIBIT 19
                    Case 3:18-cv-05945-VC Document 125-19 Filed 10/30/19 Page 2 of 28


      Generated on: This page was generated by TSDR on 2019-03-21 11:01:07 EDT
               Mark: MEMOJI




  US Serial Number: 86438926                                                      Application Filing Oct. 29, 2014
                                                                                              Date:
       Filed as TEAS Yes                                                            Currently TEAS Yes
                Plus:                                                                         Plus:
            Register: Principal
          Mark Type: Trademark
              Status: Abandoned because no Statement of Use or Extension Request timely filed after Notice of Allowance was issued. To view all
                      documents in this file, click on the Trademark Document Retrieval link at the top of this page.
        Status Date: Dec. 28, 2015
   Publication Date: Mar. 31, 2015                                                        Notice of May 26, 2015
                                                                                    Allowance Date:
   Date Abandoned: Dec. 28, 2015



                                                                 Mark Information
         Mark Literal MEMOJI
          Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                                 Goods and Services
Note: The following symbols indicate that the registrant/owner has amended the goods/services:

              Brackets [..] indicate deleted goods/services;
              Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
              Asterisks *..* identify additional (new) wording in the goods/services.

                 For: Computer application software for mobile phones and other computing devices, namely, software for creating and sending emoticons;
                      Downloadable computer software for creating and sending emoticons
        International 009 - Primary Class                                             U.S Class(es): 021, 023, 026, 036, 038
           Class(es):
       Class Status: ACTIVE
               Basis: 1(a)
           First Use: Oct. 01, 2014                                              Use in Commerce: Oct. 01, 2014

                 For: Baseball caps and hats; Shirts; T-shirts
        International 025 - Primary Class                                             U.S Class(es): 022, 039
           Class(es):
       Class Status: ACTIVE
               Basis: 1(b)

                                                     Basis Information (Case Level)
               Filed Use: Yes                                      Currently Use: Yes                                        Amended Use: No
               Filed ITU: Yes                                      Currently ITU: Yes                                        Amended ITU: No
               Filed 44D: No                                       Currently 44D: No                                         Amended 44D: No
               Filed 44E: No                                       Currently 44E: No                                         Amended 44E: No
               Filed 66A: No                                       Currently 66A: No
         Filed No Basis: No                                  Currently No Basis: No




                                                                                                                                           APL-STECH_00000138
                    Case 3:18-cv-05945-VC Document 125-19 Filed 10/30/19 Page 3 of 28


                                                  Current Owner(s) Information
         Owner Name: Big 3 ENT, LLC
    Owner Address: 5950 Canoga Ave, Suite 510
                   Woodland Hills, CALIFORNIA 91367
                   UNITED STATES
   Legal Entity Type: LIMITED LIABILITY COMPANY                       State or Country CALIFORNIA
                                                                     Where Organized:

         Owner Name: Luck Bunny, LLC
    Owner Address: 10047 Louise Ave
                   Northridge, CALIFORNIA 91325
                   UNITED STATES
   Legal Entity Type: LIMITED LIABILITY COMPANY                       State or Country CALIFORNIA
                                                                     Where Organized:

                                        Attorney/Correspondence Information
                                                               Attorney of Record
     Attorney Name: Joseph Sofio
    Attorney Primary joe@builtentertainment.com                         Attorney Email Yes
     Email Address:                                                        Authorized:
                                                                 Correspondent
     Correspondent JOSEPH SOFIO
     Name/Address: 2600 W OLIVE AVE FL 5
                   BURBANK, CALIFORNIA 91505-4572
                   UNITED STATES
                Phone: 818-753-2390
   Correspondent e- joe@builtentertainment.com                        Correspondent e- Yes
              mail:                                                    mail Authorized:
                                                       Domestic Representative - Not Found

                                                      Prosecution History
                                                                                                             Proceeding
  Date               Description
                                                                                                             Number
Dec. 28, 2015      ABANDONMENT NOTICE MAILED - NO USE STATEMENT FILED
Dec. 28, 2015      ABANDONMENT - NO USE STATEMENT FILED                                                    99999
May 26, 2015       NOA E-MAILED - SOU REQUIRED FROM APPLICANT
Mar. 31, 2015      OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED
Mar. 31, 2015      PUBLISHED FOR OPPOSITION
Mar. 11, 2015      NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED
Feb. 19, 2015      APPROVED FOR PUB - PRINCIPAL REGISTER
Feb. 18, 2015      ASSIGNED TO EXAMINER                                                                    76731
Nov. 08, 2014      NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM
Nov. 01, 2014      NEW APPLICATION ENTERED IN TRAM

                                           TM Staff and Location Information
                                                              TM Staff Information
         TM Attorney: SPRUILL, DARRYL M                                     Law Office LAW OFFICE 112
                                                                            Assigned:
                                                                  File Location
   Current Location: INTENT TO USE SECTION                            Date in Location: May 26, 2015




                                                                                                        APL-STECH_00000139
                             Case 3:18-cv-05945-VC Document 125-19 Filed 10/30/19 Page 4 of 28

PTO Form 1478 (Rev 9/2006)
OMB No. 0651-0009 (Exp 12/31/2014)


                                     Trademark/Service Mark Application, Principal Register
                                                             TEAS Plus Application
                                                                  Serial Number: 86438926
                                                                  Filing Date: 10/29/2014

   NOTE: Data fields with the * are mandatory under TEAS Plus. The wording "(if applicable)" appears where the field is only mandatory
                                               under the facts of the particular application.




                                                     The table below presents the data as entered.

                       Input Field                                                        Entered
             TEAS Plus                   YES
             MARK INFORMATION
             *MARK                       MEmoji
             *STANDARD
             CHARACTERS
                                         YES

             USPTO-GENERATED
             IMAGE
                                         YES

             LITERAL ELEMENT             MEmoji
             *MARK STATEMENT             The mark consists of standard characters, without claim to any particular font, style, size, or color.
             REGISTER                    Principal
             APPLICANT INFORMATION
             *OWNER OF MARK              Big 3 ENT, LLC
             *STREET                     5950 Canoga Ave, Suite 510
             *CITY                       Woodland Hills
             *STATE
             (Required for U.S.          California
             applicants)

             *COUNTRY                    United States
             *ZIP/POSTAL CODE
             (Required for U.S.          91367
             applicants only)

             EMAIL ADDRESS               joe@builtentertainment.com
             LEGAL ENTITY INFORMATION
             *TYPE                       LIMITED LIABILITY COMPANY
             * STATE/COUNTRY
             WHERE LEGALLY               California
             ORGANIZED

             APPLICANT INFORMATION
             *OWNER OF MARK              Luck Bunny, LLC
             *STREET                     10047 Louise Ave




                                                                                                                                      APL-STECH_00000140
           Case 3:18-cv-05945-VC Document 125-19 Filed 10/30/19 Page 5 of 28

*CITY                  Northridge
*STATE
(Required for U.S.     California
applicants)

*COUNTRY               United States
*ZIP/POSTAL CODE
(Required for U.S.     91325
applicants only)

EMAIL ADDRESS          joe@builtentertainment.com
LEGAL ENTITY INFORMATION
*TYPE                  LIMITED LIABILITY COMPANY
* STATE/COUNTRY
WHERE LEGALLY          California
ORGANIZED

GOODS AND/OR SERVICES AND BASIS INFORMATION
* INTERNATIONAL
                       009
CLASS

                       Computer application software for mobile phones and other computing devices, namely, software
*IDENTIFICATION        for creating and sending emoticons; Downloadable computer software for creating and sending
                       emoticons
*FILING BASIS          SECTION 1(a)
  FIRST USE
ANYWHERE DATE
                       At least as early as 10/01/2014

  FIRST USE IN
                       At least as early as 10/01/2014
COMMERCE DATE

   SPECIMEN FILE NAME(S)

   ORIGINAL PDF FILE   SPE012340-14023916241-20141029173651291122_._Screen_Shot_2014-10-03_at_12.55.48_PM.pdf
   CONVERTED PDF
FILE(S)                \\TICRS\EXPORT16\IMAGEOUT16\864\389\86438926\xml1\FTK0003.JPG
   (1 page)

   SPECIMEN
DESCRIPTION
                       Screen shot of mark detailing the creation and availability of emoticons

* INTERNATIONAL
CLASS
                       025

*IDENTIFICATION        Baseball caps and hats; Shirts; T-shirts
*FILING BASIS          SECTION 1(b)
ADDITIONAL STATEMENTS INFORMATION
*TRANSLATION
(if applicable)

*TRANSLITERATION
(if applicable)

*CLAIMED PRIOR
REGISTRATION
(if applicable)

*CONSENT
(NAME/LIKENESS)
(if applicable)

*CONCURRENT USE
CLAIM
(if applicable)




                                                                                                          APL-STECH_00000141
           Case 3:18-cv-05945-VC Document 125-19 Filed 10/30/19 Page 6 of 28

ATTORNEY INFORMATION
NAME                 Joseph Sofio
STREET               2600 W. Olive Ave, 5th Floor
CITY                 Burbank
STATE                California
COUNTRY              United States
ZIP/POSTAL CODE      91505
PHONE                818-753-2390
EMAIL ADDRESS        joe@builtentertainment.com
AUTHORIZED TO
COMMUNICATE VIA      Yes
EMAIL

CORRESPONDENCE INFORMATION
*NAME                Joseph Sofio
*STREET              2600 W. Olive Ave, 5th Floor
*CITY                Burbank
*STATE
(Required for U.S.   California
applicants)

*COUNTRY             United States
*ZIP/POSTAL CODE     91505
PHONE                818-753-2390
*EMAIL ADDRESS       joe@builtentertainment.com
*AUTHORIZED TO
COMMUNICATE VIA      Yes
EMAIL

FEE INFORMATION
NUMBER OF CLASSES    2
FEE PER CLASS        275
*TOTAL FEE PAID      550
SIGNATURE INFORMATION
* SIGNATURE          /Joseph Sofio/
* SIGNATORY'S NAME   Joseph Sofio
* SIGNATORY'S
                     Attorney of record, CA bar member
POSITION

SIGNATORY'S PHONE
                     818-753-2390
NUMBER

* DATE SIGNED        10/29/2014
* SIGNATURE          /Joseph Sofio/
* SIGNATORY'S NAME   Joseph Sofio
* SIGNATORY'S
POSITION
                     Attorney of record, CA bar member

SIGNATORY'S PHONE




                                                                          APL-STECH_00000142
         Case 3:18-cv-05945-VC Document 125-19 Filed 10/30/19 Page 7 of 28

                  818-753-2390
NUMBER

* DATE SIGNED     10/29/2014




                                                                        APL-STECH_00000143
                             Case 3:18-cv-05945-VC Document 125-19 Filed 10/30/19 Page 8 of 28

PTO Form 1478 (Rev 9/2006)
OMB No. 0651-0009 (Exp 12/31/2014)




                                       Trademark/Service Mark Application, Principal Register

                                                            TEAS Plus Application
                                                             Serial Number: 86438926
                                                             Filing Date: 10/29/2014
To the Commissioner for Trademarks:
MARK: MEmoji (Standard Characters, see mark)
The literal element of the mark consists of MEmoji.
The mark consists of standard characters, without claim to any particular font, style, size, or color.

The applicants, Big 3 ENT, LLC, a limited liability company legally organized under the laws of California, having an address of
   5950 Canoga Ave, Suite 510
   Woodland Hills, California 91367
   United States

Luck Bunny, LLC, a limited liability company legally organized under the laws of California, having an address of
   10047 Louise Ave
   Northridge, California 91325
   United States


request registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

For specific filing basis information for each item, you must view the display within the Input Table.
    International Class 009: Computer application software for mobile phones and other computing devices, namely, software for creating and
sending emoticons; Downloadable computer software for creating and sending emoticons



In International Class 009, the mark was first used by the applicant or the applicant's related company or licensee predecessor in interest at least
as early as 10/01/2014, and first used in commerce at least as early as 10/01/2014, and is now in use in such commerce. The applicants are
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed goods and/or
services, consisting of a(n) Screen shot of mark detailing the creation and availability of emoticons.

Original PDF file:
SPE012340-14023916241-20141029173651291122_._Screen_Shot_2014-10-03_at_12.55.48_PM.pdf
Converted PDF file(s) (1 page)
Specimen File1

For specific filing basis information for each item, you must view the display within the Input Table.
     International Class 025: Baseball caps and hats; Shirts; T-shirts
Intent to Use: The applicant has a bona fide intention to use or use through the applicant's related company or licensee the mark in commerce on
or in connection with the identified goods and/or services. (15 U.S.C. Section 1051(b)).



The applicant's current Attorney Information:
   Joseph Sofio
   2600 W. Olive Ave, 5th Floor
   Burbank, California 91505
   United States

The applicant's current Correspondence Information:




                                                                                                                              APL-STECH_00000144
                   Case 3:18-cv-05945-VC Document 125-19 Filed 10/30/19 Page 9 of 28

   Joseph Sofio
   2600 W. Olive Ave, 5th Floor
   Burbank, California 91505
   818-753-2390(phone)
   joe@builtentertainment.com (authorized)

A fee payment in the amount of $550 has been submitted with the application, representing payment for 2 class(es).

                                                                   Declaration

The signatory believes that: if the applicant is filing the application under 15 U.S.C. Section 1051(a), the applicant is the owner of the
trademark/service mark sought to be registered; the applicant or the applicant's related company or licensee is using the mark in commerce on or
in connection with the goods/services in the application, and such use by the applicant's related company or licensee inures to the benefit of the
applicant; the specimen(s) shows the mark as used on or in connection with the goods/services in the application; and/or if the applicant filed an
application under 15 U.S.C. Section 1051(b), Section 1126(d), and/or Section 1126(e), the applicant is entitled to use the mark in commerce; the
applicant has a bona fide intention to use or use through the applicant's related company or licensee the mark in commerce on or in connection
with the goods/services in the application. The signatory believes that to the best of the signatory's knowledge and belief, no other person has the
right to use the mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the
goods/services of such other person, to cause confusion or mistake, or to deceive. The signatory being warned that willful false statements and
the like are punishable by fine or imprisonment, or both, under 18 U.S.C. Section 1001, and that such willful false statements and the like may
jeopardize the validity of the application or any registration resulting therefrom, declares that all statements made of his/her own knowledge are
true and all statements made on information and belief are believed to be true.


Signature: /Joseph Sofio/ Date Signed: 10/29/2014
Signatory's Name: Joseph Sofio
Signatory's Position: Attorney of record, CA bar member

Signature: /Joseph Sofio/ Date Signed: 10/29/2014
Signatory's Name: Joseph Sofio
Signatory's Position: Attorney of record, CA bar member



RAM Sale Number: 86438926
RAM Accounting Date: 10/30/2014

Serial Number: 86438926
Internet Transmission Date: Wed Oct 29 18:08:55 EDT 2014
TEAS Stamp: USPTO/FTK-XXX.XXX.XXX.XX-201410291808559
85430-86438926-500898a97ea4741ff18dcc85c
1b9ef860bb75619b4329f6ad8570ee56f669934e
-CC-4875-20141029173651291122




                                                                                                                             APL-STECH_00000145
Case 3:18-cv-05945-VC Document 125-19 Filed 10/30/19 Page 10 of 28




                                                               APL-STECH_00000146
Case 3:18-cv-05945-VC Document 125-19 Filed 10/30/19 Page 11 of 28




                                                               APL-STECH_00000147
Case 3:18-cv-05945-VC Document 125-19 Filed 10/30/19 Page 12 of 28




                                                               APL-STECH_00000148
Case 3:18-cv-05945-VC Document 125-19 Filed 10/30/19 Page 13 of 28




                                                               APL-STECH_00000149
                     Case 3:18-cv-05945-VC Document 125-19 Filed 10/30/19 Page 14 of 28

*** User:dspruill ***
#     Total           Dead          Live     Live     Status/    Search
      Marks          Marks          Viewed   Viewed   Search
                                    Docs     Images   Duration
01    1              N/A            0        0        0:02       86438926[SN]
02    13203          N/A            0        0        0:04       *me*[bi,ti] and *m{v}{"gj"}{v}*[bi,ti]
03    2321           N/A            0        0        0:01       2 and "009"[cc] not dead[ld]
04    14             7              7        6        0:02       *mem{v}{"gj"}{v}*[bi,ti]
05    940            0              940      776      0:02       2 and ("009" "042" "200" a b)[ic] not dead[ld]

Session started 2/19/2015 9:58:18 PM
Session finished 2/19/2015 10:22:16 PM
Total search duration 0 minutes 11 seconds
Session duration 23 minutes 58 seconds
Defaut NEAR limit=1ADJ limit=1



Sent to TICRS as Serial Number: 86438926




                                                                                                                  APL-STECH_00000150
            Case 3:18-cv-05945-VC Document 125-19 Filed 10/30/19 Page 15 of 28


                                    NOTE TO THE FILE

SERIAL NUMBER:          86438926

DATE:                  02/19/2015

NAME:                  dspruill

NOTE:

Searched:
 X   OneLook




                                                                           APL-STECH_00000151
                Case 3:18-cv-05945-VC Document 125-19 Filed 10/30/19 Page 16 of 28


                                              Trademark Snap Shot Publication Stylesheet
                                                 (Table presents the data on Publication Approval)



                                                                OVERVIEW
SERIAL NUMBER                                  86438926                   FILING DATE                                 10/29/2014

REG NUMBER                                      0000000                   REG DATE                                       N/A

REGISTER                                      PRINCIPAL                   MARK TYPE                                  TRADEMARK

INTL REG #                                            N/A                 INTL REG DATE                                  N/A

TM ATTORNEY                               SPRUILL, DARRYL M               L.O. ASSIGNED                                  112



                                                            PUB INFORMATION
RUN DATE                         02/20/2015

PUB DATE                         N/A

STATUS                           680-APPROVED FOR PUBLICATION

STATUS DATE                      02/19/2015

LITERAL MARK ELEMENT             MEMOJI


DATE ABANDONED                                        N/A                 DATE CANCELLED                                 N/A

SECTION 2F                                            NO                  SECTION 2F IN PART                             NO

SECTION 8                                             NO                  SECTION 8 IN PART                              NO

SECTION 15                                            NO                  REPUB 12C                                      N/A

RENEWAL FILED                                         NO                  RENEWAL DATE                                   N/A

DATE AMEND REG                                        N/A



                                                               FILING BASIS
                 FILED BASIS                                    CURRENT BASIS                                  AMENDED BASIS

1 (a)                          YES            1 (a)                                  YES               1 (a)                   NO

1 (b)                          YES            1 (b)                                  YES               1 (b)                   NO

44D                            NO             44D                                     NO               44D                     NO

44E                            NO             44E                                     NO               44E                     NO

66A                            NO             66A                                     NO

NO BASIS                       NO             NO BASIS                                NO



                                                                MARK DATA
STANDARD CHARACTER MARK                                                   YES

LITERAL MARK ELEMENT                                                      MEMOJI

MARK DRAWING CODE                                                         4-STANDARD CHARACTER MARK

COLOR DRAWING FLAG                                                        NO



                                                 CURRENT OWNER INFORMATION
PARTY TYPE                                                                10-ORIGINAL APPLICANT

NAME                                                                      Big 3 ENT, LLC

ADDRESS                                                                   5950 Canoga Ave, Suite 510
                                                                          Woodland Hills, CA 91367

ENTITY                                                                    16-LTD LIAB CO




                                                                                                                        APL-STECH_00000152
                 Case 3:18-cv-05945-VC Document 125-19 Filed 10/30/19 Page 17 of 28

CITIZENSHIP                                                     California

PARTY TYPE                                                      10-ORIGINAL APPLICANT

NAME                                                            Luck Bunny, LLC

ADDRESS                                                         10047 Louise Ave
                                                                Northridge, CA 91325

ENTITY                                                          16-LTD LIAB CO

CITIZENSHIP                                                     California



                                                 GOODS AND SERVICES
INTERNATIONAL CLASS                                             009

       DESCRIPTION TEXT                                         Computer application software for mobile phones and other computing devices,
                                                                namely, software for creating and sending emoticons; Downloadable computer
                                                                software for creating and sending emoticons


INTERNATIONAL CLASS                                             025

       DESCRIPTION TEXT                                         Baseball caps and hats; Shirts; T-shirts




                                      GOODS AND SERVICES CLASSIFICATION
INTERNATIONAL     009        FIRST USE DATE   10/01/2014        FIRST USE IN          10/01/2014           CLASS STATUS       6-ACTIVE
CLASS                                                           COMMERCE
                                                                DATE


INTERNATIONAL     025        FIRST USE DATE   NONE              FIRST USE IN          NONE                 CLASS STATUS       6-ACTIVE
CLASS                                                           COMMERCE
                                                                DATE



                                   MISCELLANEOUS INFORMATION/STATEMENTS
CHANGE IN REGISTRATION                                          NO



                                                PROSECUTION HISTORY
DATE                      ENT CD     ENT TYPE     DESCRIPTION                                                                        ENT NUM

02/19/2015                CNSA          P         APPROVED FOR PUB - PRINCIPAL REGISTER                                                 004

02/18/2015                DOCK          D         ASSIGNED TO EXAMINER                                                                  003

11/08/2014                NWOS           I        NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM                                  002

11/01/2014                NWAP           I        NEW APPLICATION ENTERED IN TRAM                                                       001



                                   CURRENT CORRESPONDENCE INFORMATION
ATTORNEY                                                        Joseph Sofio

CORRESPONDENCE ADDRESS                                          JOSEPH SOFIO
                                                                2600 W OLIVE AVE FL 5
                                                                BURBANK, CA 91505-4572

DOMESTIC REPRESENTATIVE                                         NONE




                                                                                                                          APL-STECH_00000153
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                                                               APL-STECH_00000154
                      Case 3:18-cv-05945-VC Document 125-19 Filed 10/30/19 Page 19 of 28


From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Wednesday, March 11, 2015 03:45 AM
To:                        joe@builtentertainment.com
Subject:                   Official USPTO Notification of Notice of Publication: U.S. Trademark SN 86438926: MEMOJI

                                                               NOTIFICATION OF "NOTICE OF PUBLICATION"

Your trademark application (Serial No. 86438926) is scheduled to publish in the Official Gazette on Mar 31, 2015. To preview the Notice of Publication, go to
http://tdr.uspto.gov/search.action?sn=86438926. If you have difficulty accessing the Notice of Publication, contact TDR@uspto.gov.

PLEASE NOTE:
 1.  The Notice of Publication may not be immediately available but will be viewable within 24 hours of this e-mail notification.
 2.  You will receive a second e-mail on the actual "Publication Date," which will include a link to the issue of the Official Gazette in which the mark has published.

Do NOT hit "Reply" to this e-mail notification. If you have any questions about the content of the Notice of Publication, contact TMPostPubQuery@uspto.gov.




                                                                                                                                                        APL-STECH_00000155
                     Case 3:18-cv-05945-VC Document 125-19 Filed 10/30/19 Page 20 of 28



                         UNITED STATES PATENT AND TRADEMARK OFFICE


                                                                                                                                                    Commissioner for Trademarks
                                                                                                                                                                  P.O. Box 1451
                                                                                                                                                     Alexandria, VA 22313-1451
                                                                                                                                                                  www.uspto.gov
                                                                               Mar 11, 2015

                                                                   NOTICE OF PUBLICATION
1.   Serial No.:                                                                        2.    Mark:
     86-438,926                                                                               MEMOJI
                                                                                              (STANDARD CHARACTER MARK)

3.   International Class(es):
     9, 25

4.   Publication Date:                                                                  5.    Applicant:
     Mar 31, 2015                                                                             Big 3 ENT, LLC
                                                                                              Luck Bunny, LLC



The mark of the application identified appears to be entitled to registration. The mark will, in accordance with Section 12(a) of the Trademark Act of 1946, as amended, be
published in the Official Gazette on the date indicated above for the purpose of opposition by any person who believes he will be damaged by the registration of the mark. If no
opposition is filed within the time specified by Section 13(a) of the Statute or by rules 2.101 or 2.102 of the Trademark Rules, the Commissioner of Patents and Trademarks may
issue a notice of allowance pursuant to section 13(b) of the Statute.

Copies of the trademark portion of the Official Gazette containing the publication of the mark may be obtained from:
                                                               The Superintendent of Documents
                                                               U.S. Government Printing Office
                                                               PO Box 371954
                                                               Pittsburgh, PA 15250-7954
                                                               Phone: 202-512-1800

By direction of the Commissioner.




              Email Address(es):

              joe@builtentertainment.com




                                                                                                                                                     APL-STECH_00000156
                      Case 3:18-cv-05945-VC Document 125-19 Filed 10/30/19 Page 21 of 28


From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Tuesday, March 31, 2015 00:43 AM
To:                        joe@builtentertainment.com
Subject:                   Official USPTO Notice of Publication Confirmation: U.S. Trademark SN 86438926: MEMOJI


                                         TRADEMARK OFFICIAL GAZETTE PUBLICATION CONFIRMATION

U.S. Serial Number: 86438926
Mark: MEMOJI
International Class(es): 009, 025
Owner: Big 3 ENT, LLC
Docket/Reference Number:

The mark identified above has been published in the Trademark Official Gazette (TMOG) on Mar 31, 2015.

To Review the Mark in the TMOG:

     Click on the following link or paste the URL into an internet browser: https://tmog.uspto.gov/#issueDate=2015-03-31&serialNumber=86438926

On the publication date or shortly thereafter, the applicant should carefully review the information that appears in the TMOG for accuracy. If any information is incorrect due to
USPTO error, the applicant should immediately email the requested correction to TMPostPubQuery@uspto.gov. For applicant corrections or amendments after publication,
please file a post publication amendment using the form available at http://teasroa.uspto.gov/ppa/. For general information about this notice, please contact the Trademark
Assistance Center at 1-800-786-9199.

Significance of Publication for Opposition:

 *    Any party who believes it will be damaged by the registration of the mark may file a notice of opposition (or extension of time therefor) with the Trademark Trial and Appeal
      Board. If no party files an opposition or extension request within thirty (30) days after the publication date, then eleven (11) weeks after the publication date a notice of
      allowance (NOA) should issue. (Note: The applicant must file a complete Statement of Use or Extension Request with the required fees within six (6) months after the
      NOA issues to avoid abandonment of the application.)

To check the status of the application, go to http://tsdr.uspto.gov/#caseNumber=86438926&caseType=SERIAL_NO&searchType=statusSearch or contact the Trademark
Assistance Center at 1-800-786-9199. Please check the status of the application at least every three (3) months after the application filing date.

To view this notice and other documents for this application on-line, go to
http://tsdr.uspto.gov/#caseNumber=86438926&caseType=SERIAL_NO&searchType=documentSearch. NOTE: This notice will only become available on-line the next business
day after receipt of this e-mail.




                                                                                                                                                         APL-STECH_00000157
                      Case 3:18-cv-05945-VC Document 125-19 Filed 10/30/19 Page 22 of 28


From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Tuesday, May 26, 2015 00:12 AM
To:                        joe@builtentertainment.com
Subject:                   Official USPTO Notice of Allowance: U.S. Trademark SN 86438926: MEMOJI



                                                                         NOTICE OF ALLOWANCE (NOA)

                                                                            ISSUE DATE: May 26, 2015

Serial Number: 86438926
Mark: MEMOJI
Docket/Reference Number:

No opposition was filed for this published application. The issue date of this NOA establishes the due date for the filing of a Statement of Use (SOU) or a Request
for Extension of Time to file a Statement of Use (Extension Request). WARNING: An SOU that meets all legal requirements must be filed before a registration
certificate can issue. Please read below for important information regarding the applicant's pending six (6) month deadline.

SIX (6)-MONTH DEADLINE: Applicant has six (6) MONTHS from the NOA issue date to file either:
  - An SOU, if the applicant is using the mark in commerce (required even if the applicant was using the mark at the time of filing the application, if use basis was not
     specified originally); OR
  - An Extension Request, if the applicant is not yet using the mark in commerce. If an Extension Request is filed, a new request must be filed every six (6)
     months until the SOU is filed. The applicant may file a total of five (5) extension requests. WARNING: An SOU may not be filed more than thirty-six (36) months from
     when the NOA issued. The deadline for filing is always calculated from the issue date of the NOA.

How to file SOU and/or Extension Request:
Use the Trademark Electronic Application System (TEAS). Do NOT reply to this e-mail, as e-mailed filings will NOT be processed. Both the SOU and Extension Request have
many legal requirements, including fees and verified statements; therefore, please use the USPTO forms available online at http://www.uspto.gov/teas/index.html (under the
"INTENT-TO-USE (ITU) FORMS" category) to avoid the possible omission of required information. If you have questions about this notice, please contact the Trademark
Assistance Center at 1-800-786-9199.

For information on how to (1) divide an application; (2) delete goods/services (or entire class) with a Section 1(b) basis; or (3) change filing basis, see
http://www.uspto.gov/trademarks/basics/MoreInfo_SOU_EXT.jsp.

FAILURE TO FILE A REQUIRED DOCUMENT OUTLINED ABOVE DURING THE APPROPRIATE TIME PERIOD WILL RESULT IN THE ABANDONMENT OF THIS
APPLICATION.

                                                            REVIEW APPLICATION INFORMATION FOR ACCURACY

If you believe this NOA should not have issued or correction of the information shown below is needed, you must submit a request to the Intent-to-Use Unit. Please use the
"Post-Publication Amendment" form under the "POST-PUBLICATION/POST NOTICE OF ALLOWANCE (NOA) FORMS" category, available at
http://www.uspto.gov/teas/index.html. Do NOT reply to this e-mail, as e-mailed filings will NOT be processed.

Serial Number:                                                  86438926
Mark:                                                           MEMOJI
Docket/Reference Number:
Owner:                                                          Big 3 ENT, LLC
                                                                5950 Canoga Ave, Suite 510
                                                                Woodland Hills , CALIFORNIA 91367
Owner:                                                          Luck Bunny, LLC
                                                                10047 Louise Ave
                                                                Northridge , CALIFORNIA 91325
Correspondence Address:                                         JOSEPH SOFIO
                                                                2600 W OLIVE AVE FL 5
                                                                BURBANK, CA 91505-4572


This application has the following bases, but not necessarily for all listed goods/services:
        Section 1(a): YES                         Section 1(b): YES                          Section 44(e): NO

                                                                GOODS/SERVICES BY INTERNATIONAL CLASS

009 -          Computer application software for mobile phones and other computing devices, namely, software for creating and sending emoticons; Downloadable computer
               software for creating and sending emoticons -- FIRST USE DATE: 10-01-2014 -- USE IN COMMERCE DATE: 10-01-2014

025 -          Baseball caps and hats; Shirts; T-shirts -- FIRST USE DATE: NONE; -- USE IN COMMERCE DATE: NONE

                                                           ALL OF THE GOODS/SERVICES IN EACH CLASS ARE LISTED.



Fraudulent statements may result in registration being cancelled: Applicants must ensure that statements made in filings to the USPTO are accurate, as inaccuracies may
result in the cancellation of any issued trademark registration. The lack of a bona fide intention to use the mark with ALL goods and/or services listed in an application or the
lack of actual use on all goods and/or services for which use is claimed could jeopardize the validity of the registration, possibly resulting in its cancellation.

Additional information: For information on filing and maintenance requirements for U.S. trademark applications and registrations and required fees, please consult the USPTO
website at www.uspto.gov or call the Trademark Assistance Center at 1-800-786-9199.




                                                                                                                                                              APL-STECH_00000158
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Checking status: To check the status of an application, go to http://tarr.uspto.gov. Please check the status of any application at least every three (3) months after the
application filing date.

To view this notice and other documents for this application on-line, go to http://tdr.uspto.gov/search.action?sn=86438926. NOTE: This notice will only be available on-line the
next business day after receipt of this e-mail.




                                                                                                                                                        APL-STECH_00000159
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Side - 1




                                                NOTICE OF ABANDONMENT
                                                MAILING DATE: Dec 28, 2015



The trademark application identified below was abandoned because the applicant failed to file for a statement of use or an extension of time.

If the delay in filing a response was unintentional, you may file a petition to revive the application with a fee. If the abandonment of this application
was due to USPTO error, you may file a request for reinstatement. Please note that a petition to revive or request for reinstatement must be
received within two months from the mailing date of this notice.

For additional information, go to http://www.uspto.gov/teas/petinfo.htm. If you are unable to get the information you need from the website, call the
Trademark Assistance Center at 1-800-786-9199.

SERIAL NUMBER:                 86438926
MARK:                          MEMOJI
OWNER:                         Big 3 ENT, LLC

Side - 2
UNITED STATES PATENT AND TRADEMARK OFFICE
COMMISSIONER FOR TRADEMARKS                                                                                                       FIRST-CLASS MAIL
P.O. BOX 1451                                                                                                                       U.S POSTAGE
ALEXANDRIA, VA 22313-1451                                                                                                               PAID




                                                       JOSEPH SOFIO
                                                       2600 W OLIVE AVE FL 5
                                                       BURBANK , CA 91505-4572




                                                                                                                                      APL-STECH_00000160
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                                                 Trademark Snap Shot ITU Unit Action
                                                       (Table presents the data on ITU Unit Action)



                                                                    OVERVIEW
SERIAL NUMBER                                  86438926                       FILING DATE                                 10/29/2014

REG NUMBER                                      0000000                       REG DATE                                       N/A

REGISTER                                      PRINCIPAL                       MARK TYPE                                  TRADEMARK

INTL REG #                                            N/A                     INTL REG DATE                                  N/A

TM ATTORNEY                               SPRUILL, DARRYL M                   L.O. ASSIGNED                                  112



                                                              PUB INFORMATION
RUN DATE                         12/29/2015

PUB DATE                         03/31/2015

STATUS                           606-ABANDONED - NO STATEMENT OF USE FILED

STATUS DATE                      12/28/2015

LITERAL MARK ELEMENT             MEMOJI


DATE ABANDONED                                 12/28/2015                     DATE CANCELLED                                 N/A

SECTION 2F                                            NO                      SECTION 2F IN PART                             NO

SECTION 8                                             NO                      SECTION 8 IN PART                              NO

SECTION 15                                            NO                      REPUB 12C                                      N/A

RENEWAL FILED                                         NO                      RENEWAL DATE                                   N/A

DATE AMEND REG                                        N/A



                                                                  FILING BASIS
                 FILED BASIS                                       CURRENT BASIS                                   AMENDED BASIS

1 (a)                          YES            1 (a)                                      YES               1 (a)                   NO

1 (b)                          YES            1 (b)                                      YES               1 (b)                   NO

44D                            NO             44D                                         NO               44D                     NO

44E                            NO             44E                                         NO               44E                     NO

66A                            NO             66A                                         NO

NO BASIS                       NO             NO BASIS                                    NO



                                                                   MARK DATA
STANDARD CHARACTER MARK                                                       YES

LITERAL MARK ELEMENT                                                          MEMOJI

MARK DRAWING CODE                                                             4-STANDARD CHARACTER MARK

COLOR DRAWING FLAG                                                            NO



                                                 CURRENT OWNER INFORMATION
PARTY TYPE                                                                    20-OWNER AT PUBLICATION

NAME                                                                          Big 3 ENT, LLC

ADDRESS                                                                       5950 Canoga Ave, Suite 510
                                                                              Woodland Hills, CA 91367

ENTITY                                                                        16-LTD LIAB CO




                                                                                                                            APL-STECH_00000161
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CITIZENSHIP                                                     California

PARTY TYPE                                                      20-OWNER AT PUBLICATION

NAME                                                            Luck Bunny, LLC

ADDRESS                                                         10047 Louise Ave
                                                                Northridge, CA 91325

ENTITY                                                          16-LTD LIAB CO

CITIZENSHIP                                                     California



                                                 GOODS AND SERVICES
INTERNATIONAL CLASS                                             009

       DESCRIPTION TEXT                                         Computer application software for mobile phones and other computing devices,
                                                                namely, software for creating and sending emoticons; Downloadable computer
                                                                software for creating and sending emoticons


INTERNATIONAL CLASS                                             025

       DESCRIPTION TEXT                                         Baseball caps and hats; Shirts; T-shirts




                                      GOODS AND SERVICES CLASSIFICATION
INTERNATIONAL     009        FIRST USE DATE   10/01/2014        FIRST USE IN          10/01/2014           CLASS STATUS       6-ACTIVE
CLASS                                                           COMMERCE
                                                                DATE


INTERNATIONAL     025        FIRST USE DATE   NONE              FIRST USE IN          NONE                 CLASS STATUS       6-ACTIVE
CLASS                                                           COMMERCE
                                                                DATE



                                   MISCELLANEOUS INFORMATION/STATEMENTS
CHANGE IN REGISTRATION                                          NO



                                                PROSECUTION HISTORY
DATE                      ENT CD     ENT TYPE     DESCRIPTION                                                                        ENT NUM

12/28/2015                MAB6          O         ABANDONMENT NOTICE MAILED - NO USE STATEMENT FILED                                    010

12/28/2015                ABN6          S         ABANDONMENT - NO USE STATEMENT FILED                                                  009

05/26/2015                NOAM          E         NOA E-MAILED - SOU REQUIRED FROM APPLICANT                                            008

03/31/2015                NPUB          E         OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED                                    007

03/31/2015                PUBO          A         PUBLISHED FOR OPPOSITION                                                              006

03/11/2015                NONP          E         NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED                                        005

02/19/2015                CNSA          P         APPROVED FOR PUB - PRINCIPAL REGISTER                                                 004

02/18/2015                DOCK          D         ASSIGNED TO EXAMINER                                                                  003

11/08/2014                NWOS           I        NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM                                  002

11/01/2014                NWAP           I        NEW APPLICATION ENTERED IN TRAM                                                       001



                                   CURRENT CORRESPONDENCE INFORMATION
ATTORNEY                                                        Joseph Sofio

CORRESPONDENCE ADDRESS                                          JOSEPH SOFIO
                                                                2600 W OLIVE AVE FL 5
                                                                BURBANK, CA 91505-4572

DOMESTIC REPRESENTATIVE                                         NONE




                                                                                                                          APL-STECH_00000162
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                                   PRIOR OWNER INFORMATION
PARTY TYPE                                     10-ORIGINAL APPLICANT

NAME                                           Big 3 ENT, LLC

ADDRESS                                        5950 Canoga Ave, Suite 510
                                               Woodland Hills, CA 91367

ENTITY                                         16-LTD LIAB CO

CITIZENSHIP                                    California

PARTY TYPE                                     10-ORIGINAL APPLICANT

NAME                                           Luck Bunny, LLC

ADDRESS                                        10047 Louise Ave
                                               Northridge, CA 91325

ENTITY                                         16-LTD LIAB CO

CITIZENSHIP                                    California




                                                                             APL-STECH_00000163
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